119 F.3d 7
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Keri Ann LONG, Defendant-Appellant.
    No. 96-30353.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 14, 1997**July 18, 1997.
    
      Before:  HUG, Chief Judge, KOZINSKI and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Keri Ann Long appeals the sentence imposed following the revocation of her probation based on a finding of drug use.  Long's attorney has filed a brief stating that she finds no issues for review and a motion to withdraw as counsel of record pursuant to Anders v. California, 386 U.S. 738 (1967).  Our examination of counsel's brief and our independent review of the record under Penson v. Ohio, 488 U.S. 75, 83 (1988), disclose no issues for review.
    
    
      3
      Accordingly, we grant counsel's motion to withdraw and affirm the district court's judgment.
    
    
      4
      AFFIRMED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    